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                      UNITED STATES COURT OF APPEALS
                           FOR THE THIRD CIRCUIT
                               _______________

                                    No. 20-1637
                                  _______________

                                   SANCHIT JAIN,
                                                    Appellant

                                           v.

                        CARNEGIE MELLON UNIVERSITY
                              _______________

                    On Appeal from the United States District Court
                       for the Western District of Pennsylvania
                               (D.C. No. 2:18-cv-01163)
                         Magistrate Judge: Patricia L. Dodge
                                  _______________

                     Submitted Under Third Circuit L.A.R. 34.1(a)
                                on January 29, 2021

              Before: RESTREPO, BIBAS, and PORTER, Circuit Judges

                                  _______________

                                    JUDGMENT
                                  _______________

    This cause came to be considered on the record from the United States District Court
for the Western District of Pennsylvania and was submitted under L.A.R. 34.1(a) on Janu-
ary 29, 2021.

   On consideration whereof, it is now ORDERED and ADJUDGED that the District
Court’s judgment entered on February 20, 2020, is hereby AFFIRMED. Costs shall be
taxed against Appellant. All of the above in accordance with the Opinion of this Court.
        Case 2:18-cv-01163-PLD Document 54 Filed 03/05/21 Page 2 of 2




                                               ATTEST:


                                               s/Patricia S Dodszuweit
Dated: March 5, 2021                                         Clerk




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